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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                (Alexandria Division)

CURTIS LEVAR WELLS, JR.,                     )
Plaintiff,                                   )
                                             )
v.                                           )   Case No.    1:22-cv-00140-MSN-IDD
                                             )   Next Event:
JAVIER FUENTES, et al.,                      )
Defendants                                   )
                                             )

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this date, July 7, 2022, I caused to be served the Summons

directed to Michael P. Armstrong and Keith Shepherd (DKT 3), Complaint (DKT 1), and the

Amended Complaint (DKT 38) by CERTIFIED MAIL RETURN RECEIPT REQUESTED upon

the United States as following:

Attorney General of the United States
Main Justice Building
10th & Constitution Ave., NW
Washington, DC 20530

United States Attorney
Eastern District of Virginia
2100 Jamieson Ave.
Alexandria, VA 22314

Dated July 7, 2022.


                                          By:_____/s/___________________________
                                          Matthew A. Crist, VSB No. 85922
                                          mcrist@MACPLLC.net
                                          Matthew A. Crist, PLLC
                                          10432 Balls Ford Rd., Suite 300
                                          Manassas, VA 20109
                                          (571) 551-6859
                                          Counsel for Plaintiff


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                                CERTIFICATE OF SERVICE

         I hereby certify on this day, July 6, 2022, that the foregoing paper was filed and served
with the Clerk of Court via the Court’s CM/ECF system, which will send notice of such filing to
all registered users.

                                             _____/s/___________________________
                                             Matthew A. Crist
                                             Counsel for Plaintiff




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